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                           UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                  Case No. 21-CR-2006-BAS
12                       Plaintiff,              JUDGMENT AND ORDER
                                                 GRANTING THE UNITED
13                 V.                            STATES' MOTION TO DISMISS
                                                 THE INDICTMENT WITHOUT
14    LORANCE ARCHIBEK,                          PREJUDICE
15                       Defendant.
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17
           The United States of America's Motion to Dismiss the Indictment (ECF No. 11),
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     without prejudice, is GRANTED. The Court dismisses the Indictment without prejudice.
19
     Lorance Archibek is on bond and the bond is exonerated.
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21

22 DATED: October 19, 2021
23                                            Hon. ynthia Bashant
                                              United States District Judge
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